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 Matthew S. Warren (State Bar No. 230565)
 Virginia G. Kain (State Bar No. 344545)
 22-5246@cases.warrenlex.com
 WARREN KASH WARREN LLP
 2261 Market Street, No. 606
 San Francisco, California, 94114
 +1 (415) 895-2940
 +1 (415) 895-2964 facsimile
 Attorneys for Defendant Google LLC



                                     UNITED STATES DISTRICT COURT

                                  NORTHERN DISTRICT OF CALIFORNIA

                                         SAN FRANCISCO DIVISION



 LARRY GOLDEN,                             )                  Case No. 3:22-cv-05246-RFL
                                           )
    Plaintiff,                             )                  AMENDED NOTICE OF MOTION TO
                                           )                  DISMISS THE AMENDED COMPLAINT
 v.                                        )                  BY DEFENDANT GOOGLE LLC
                                           )
 GOOGLE LLC,                               )                  Date:       December 12, 2023
                                           )                  Time:       10:00 a.m.
        Defendant.                         )                  Place:      Courtroom 15, 18th Floor
 _________________________________________ )                  Judge:      Hon. Rita F. Lin




                                                                                   Case No. 3:22-cv-05246-RFL
_____________________________________________________________________________________________________________
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                                    AMENDED NOTICE OF MOTION TO DISMISS THE AMENDED COMPLAINT
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 TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:

          PLEASE TAKE NOTICE THAT on December 12, 2023, at 10:00 a.m., or as soon thereafter as

 this matter may be heard, before Judge Rita F. Lin of the United States District Court for the Northern

 District of California located at 450 Golden Gate Avenue, San Francisco, California, 94102, defendant

 Google LLC will move and hereby does move for an order dismissing plaintiff Larry Golden’s amended

 complaint for failure to state a claim upon which relief may be granted under Federal Rule of Civil

 Procedure 12(b)(6). The motion is based on this Notice, the previously filed Memorandum of Points

 and Authorities (Docket No. 44), briefing responsive to that motion, all other matters of record filed

 with the Court in this case, any argument at hearing of this matter, and such other materials the Court

 may consider.

          Google seeks an Order dismissing the amended complaint without leave to amend under Fed. R.

 Civ. P. 12(b)(6) for failure to state a claim upon which this Court may grant relief.

          On August 23, 2023, Google filed its Motion to Dismiss the Amended Complaint and noticed a

 hearing date of December 7, 2023. On November 27, 2023, this Court issued an order which reassigned

 this matter from Judge Haywood S. Gilliam, Jr. to Judge Rita F. Lin, vacated the previously scheduled

 motion hearing of December 7, 2023, and ordered Google to re-notice this motion. Docket No. 52.

 Google therefore files this amended notice with a new hearing date.

 Date: November 30, 2023                              Respectfully submitted,


                                                      _______________________________________
                                                      Matthew S. Warren (State Bar No. 230565)
                                                      Virginia G. Kain (State Bar No. 344545)
                                                      WARREN KASH WARREN LLP
                                                      2261 Market Street, No. 606
                                                      San Francisco, California, 94114
                                                      +1 (415) 895-2940
                                                      +1 (415) 895-2964 facsimile
                                                      22-5246@cases.warrenlex.com

                                                      Attorneys for Defendant Google LLC




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_____________________________________________________________________________________________________________
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                                       CERTIFICATE OF SERVICE
 I, Virginia G. Kain, certify as follows under 28 U.S.C. § 1746:

          I am an attorney at Warren Kash Warren LLP and admitted to practice before this Court. My

 business address is 2261 Market Street, No. 606, San Francisco, California, 94114. On November 30,

 2023, I served the foregoing Amended Notice of Motion to Dismiss the Amended Complaint by

 Defendant Google LLC on the plaintiff by First Class Mail at the following address:

          Larry Golden
          740 Woodruff Road, No. 1102
          Greenville, South Carolina, 29607
 by placing it in a sealed envelope with postage paid and placing the envelope in the exclusive custody

 of the United States Postal Service.

          On the same day, I also sent a courtesy copy of this document by electronic mail to Mr. Golden

 at atpg-tech@charter.net.

          I certify under penalty of perjury that the foregoing is true and correct. Executed on November

 30, 2023, at San Francisco, California.

                                                                  ________________________________
                                                                  Virginia G. Kain




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_____________________________________________________________________________________________________________
  ___________________________________________________________________________________________________________________
                                    AMENDED NOTICE OF MOTION TO DISMISS THE AMENDED COMPLAINT
